              Case 3:17-cv-00202-AC        Document 1        Filed 02/07/17   Page 1 of 10




 1   Wm. Keith Dozier, OSB 012478
     keith@wkd-law.com
 2
     Wm. Keith Dozier, LLC
 3   385 First St., Ste. 215
     Lake Oswego, OR 97034
 4   Telephone: 503-594-0333
     Fax: 503-697-0841
 5
            Of Attorneys for Plaintiffs
 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                                     FOR THE DISTRICT OF OREGON
 9
                                          PORTLAND DIVISION
10

11
     JOHN BRANCH and REA BRANCH,     )                  Case No.: 3:17-cv-00202
12
                                     )
13              Plaintiffs,          )
                                     )                  COMPLAINT
14        vs.                        )
                                     )                  Federal Tort Claim (28 U.S. Code §
15   THE UNITED STATES OF AMERICA    )                  1346(b)(1))
     DEPARTMENT OF VETERANS AFFAIRS, )
16
                                     )
17              Defendant            )
                                     )
18                                   )

19

20   Plaintiffs allege as follows:
21
                                      JURISDICTION AND VENUE
22
                                                   1.
23
            This Court has jurisdiction pursuant to 28 U.SC. § 1346(b)(1). Tort Claim Notice has
24
     been served on defendant.
25

26
     ///


     PAGE 1 –COMPLAINT                                                           Wm. Keith Dozier, LLC
                                                                                  385 First St., Ste. 215
                                                                                Lake Oswego, OR 97034
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              Case 3:17-cv-00202-AC          Document 1      Filed 02/07/17     Page 2 of 10




 1

 2
                                                      2.
 3
            All of the relevant acts and omissions of defendant alleged herein were committed in the
 4
     State of Oregon.
 5
                                                  PARTIES
 6

 7
                                                      3.

 8          Plaintiff Rea Branch is a resident of the State of Oregon. Plaintiff John Branch is a

 9   resident of the State of Washington.

10                                                    4.
11
            Defendant is a federal governmental agency.
12
                                                      5.
13
            Plaintiffs served defendant with a Tort Claim Notice on June 7, 2013. Defendant formally
14
     denied the claims on November 26, 2013. Plaintiffs served the VA with a Request for
15

16
     Reconsideration on May 21, 2014. The VA’s Office of General Counsel has yet to make a final

17   determination regarding to plaintiffs’ tort claims.

18                                     COMMON ALLEGATIONS
19                                                    6.
20          Mr. Branch volunteered for the U.S. Navy during the Vietnam Conflict, eventually
21   earning the rank of Third Class Petty Officer. He experienced combat while serving aboard the

22   cruiser U.S.S. Providence and the destroyer U.S.S. Rowan during operations off the coast of

23
     North and South Vietnam firing deck guns and missiles at enemy vessels and shore-based
     installations. Mr. Branch participated in Operation Lion’s Den, the Battle of Haiphong Harbor.
24
                                                      7.
25
            After being honorably discharged from the U.S. Navy in 1974. Mr. Branch returned to
26
     private life. He raised a family and ran his own business.

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                                                                                  Lake Oswego, OR 97034
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              Case 3:17-cv-00202-AC          Document 1       Filed 02/07/17     Page 3 of 10




 1                                                    8.
 2          By 2001 Mr. Branch was suffering from recurring violent nightmares, insomnia, anxiety,
 3   depression, and isolation. Mr. Branch sought treatment and was diagnosed with severe Post

 4   Traumatic Stress Disorder (“PTSD”) related to his combat military experience by the U.S.
     Veterans Administration (the “VA”).
 5
                                                      9.
 6
            His VA caregivers were aware that Mr. Branch had abused alcohol in the past and that he
 7
     was struggling with tobacco dependency.
 8
                                                     10.
 9          To treat his PTSD and related symptoms Mr. Branch was prescribed a class of drugs
10   known as benzodiazepines. These included the drugs Alprazolam and Clonazepam.
11                                                   11.

12          Benzodiazepines were originally developed for and used as anti-seizure medications.

13
     The Federal Drug Administration has never approved Clonazepam for the treatment of PTSD.
                                                     12.
14
            Benzodiazepines have a propensity to potentiate the effects of other drugs, interfere with
15
     memory, frustrate potential benefits of counseling, are highly addictive and can result in severe
16
     side effects from withdrawal if their use is suddenly decreased or stopped.
17
                                                     13.
18          The VA and the U.S. Department of Defense (“DoD”) jointly issued a formal Clinical
19   Practice Guideline For Management of Post-Traumatic Stress in 2004 (“Version 1.0 – 2004”). It
20   stated that benzodiazepines were determined to be of no benefit and were harmful in the

21   treatment veterans suffering from PTSD.
                                                     14.
22
            The VA/DoD policy issued in 2004 recommended against the use of benzodiazepines
23
     because of the risk of abuse in patients with a history of substance abuse, their addictive
24
     properties, the potential need for medical detoxification if its use was stopped, memory
25
     impairment that interferes with psychotherapy, and the fact that there is no evidence that
26
     benzodiazepines are useful in treating the core symptoms of PTSD.


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                                                                                     385 First St., Ste. 215
                                                                                   Lake Oswego, OR 97034
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              Case 3:17-cv-00202-AC         Document 1      Filed 02/07/17     Page 4 of 10




 1                                                  15.
 2          The VA policy issued in 2004 recommended that if doses of Clonazepam were sustained
 3   for more than two months, the drug’s use should be carefully reduced in dosage over time, its use

 4   gradually tapered.
                                                    16.
 5
            The VA/DoD policy regarding the treatment of veterans suffering from PTSD was
 6
     revised in 2010 (“Version 2.0 - 2010”). It made the same recommendations regarding
 7
     benzodiazepines. It stated that withdraw symptoms related to benzodiazepines are compounded
 8
     by the underlying PTSD symptoms and that their use is contraindicated in subjects with alcohol
 9   abuse or substance abuse disorders. These guidelines have remained in place through today.
10                                                  17.
11          The VA and DoD also issued formal guidelines regarding how to implement the 2010

12   VA/DoD Clinical Practice Guideline For Management of Post-Traumatic Stress. It explained

13
     how the VA/DoD policy was to not prescribe benzodiazepines to veterans suffering from PTSD.
                                                    18.
14
            Withdrawal symptoms for benzodiazepines documented in medical literature include
15
     physical aggressiveness, depression, hallucinations, psychosis, and anxiety.
16
                                                    19.
17
            Through 2009 and 2010 Mr. Branch developed severe back pain and referral pain and
18   weakness into his left leg due to a back injury. He was prescribed increasing doses of opiate
19   medication to manage his pain. At that time his Clonazepam prescription remained at its
20   maximum dosage of six milligrams per day and he remained on Alprazolam.

21                                                  20.
            On December 4, 2010, Mr. Branch suffered an episode of severe cognitive disorientation
22
     and was admitted for psychiatric care. He became physically aggressive with hospital staff,
23
     though he had no memory of this. It was believed that this episode was due to adverse drug
24
     interactions involving benzodiazepines and his increased pain medications.
25

26



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              Case 3:17-cv-00202-AC         Document 1      Filed 02/07/17       Page 5 of 10




 1                                                   21.
 2          On December 7, 2010, it was recommended to Mr. Branch by VA staff (via a telephone
 3   conversation with his wife) that he taper his benzodiazepine dosage.

 4                                                   22.
            On December 21, 2010, Mr. Branch reported to VA staff a difficulty in trying to reduce
 5
     the amount of benzodiazepine he was taking. However, he committed to try again.
 6
                                                     23.
 7
            By January 3, 2011, Mr. Branch was suffered from increased anxiety and delirium while
 8
     trying to taper his Clonazepam usage. He was suicidal and paranoid. Out of frustration he
 9   flushed his mediations down a toilet because he felt that he was being poisoned. Mr. Branch told
10   caregivers that his mind was not working right and that he needed help. He was stabilized when
11   caregivers restarted his usual medications, including the benzodiazepine.

12                                                   24.

13
            On February 8, 2011, Mr. Branch again told VA staff that he was unable to reduce his
     dosage of benzodiazepine. It was noted that he wanted to wait on trying to taper again until he
14
     had a consultation for possible back surgery.
15
                                                     25.
16
            On April 4, 2011, VA staff noted that Mr. Branch had attempted to reduce his
17
     benzodiazepine dosage twice and that both times he ended up being hospitalized.
18                                                   26.
19          On June 2, 2011, Mr. Branch was seen at the VA for a pre-operative visit for surgery on
20   his lower back. His prescription for Clonazepam was noted in the medical chart that day. At that

21   time his back pain was noted to be severe.
                                                     27.
22
            Mr. Branch had back surgery at the Portland VA hospital on June 8, 2011.
23
                                                     28.
24
            Mr. Branch was discharged after surgery on June 9, 2011. He was prescribed another
25
     drug to treat post-operative muscle tightness, Diazepam, and was told by his care provider not to
26
     take it at the same time as Clonazepam. Mr. Branch later received a pharmacy discharge


     PAGE 5 –COMPLAINT                                                             Wm. Keith Dozier, LLC
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                                                                            P: (503) 594-0333 F: (503) 697-0841
              Case 3:17-cv-00202-AC          Document 1      Filed 02/07/17     Page 6 of 10




 1   education consultation. The medical chart indicates that he was told not to take the Diazepam
 2   with his Clonazepam unless absolutely necessary. It was noted that Mr. Branch verbalized an
 3   understanding. However, the caregiver specifically noted that it was unclear how much of the

 4   discharge education counseling Mr. Branch would remember because of his level of sedation.
                                                     29.
 5
            Mr. Branch was not warned about the potential issues related to withdrawal from the
 6
     clonazepam if he stopped its use because he was taking Diazepam.
 7
                                                     30.
 8
            After discharge Mr. Branch discontinued his use of Clonazepam, believing that it had
 9   been replaced by Diazepam. In the days leading up to June 21, 2011, he was suffering from
10   severe confusion, paranoia and anxiety. He attended a post-op appointment that morning with
11   back pain that continued to be severe. The nursing note in his chart indicates that he told VA

12   staff that he was unsure about how he was to take his medications. The same note indicated that

13
     his Clonazepam had been discontinued. Mr. Branch left the VA frustrated, depressed and
     confused. He disappeared.
14
                                                     31.
15
            On June 24, 2011, Mr. Branch returned home and suffered a severe psychotic episode
16
     wherein he became delusional and experienced hallucinations. Mr. Branch believed that he was
17
     fighting Satan for his soul and exhibited aggressive behavior towards his wife of thirty-two
18   years. His wife called the police. When they arrived Mr. Branch, in his delusional state, failed to
19   heed the commands of a police officer and was shot.
20                                                   32.

21          The police shot Mr. Branch in his abdomen causing injury to his internal organs. He
     suffered physical pain as well as mental suffering and anguish as a result of his physical injury
22
     all to his non-economic damages in an amount to be determined at trial.
23
                                                     33.
24
            As a result of the events of June 24, 2011, Mr. Branch pleaded guilty but for reason of
25
     insanity to felony criminal charges and was detained at the Oregon State Hospital for a term of
26
     not more than ten years. He suffered mental anguish, isolation, loss of freedom and humiliation


     PAGE 6 –COMPLAINT                                                             Wm. Keith Dozier, LLC
                                                                                    385 First St., Ste. 215
                                                                                  Lake Oswego, OR 97034
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               Case 3:17-cv-00202-AC            Document 1     Filed 02/07/17   Page 7 of 10




 1   for being interned at a mental facility due to defendant’s conduct all to his non-economic
 2   damages in an amount to be determined at trial.
 3                                                       34.

 4           Mr. Branch received appropriate treatment and therapy while at the Oregon State
     Hospital. He was tapered off of benzodiazepines completely. He has had no more psychotic
 5
     episodes or delirium since being safely tapered off of benzodiazepines.
 6
                                                         35.
 7
             Mr. Branch was discharged from the Oregon State Hospital in 2014. He has not suffered
 8
     any episodes of delirium, confusion, aggression, or suicidal ideation since being tapered off of
 9   benzodiazepines and receiving appropriate therapy.
10                                                       36.
11           As a result of these events Mr. and Mrs. Branch have now divorced. Their marriage of

12   over thirty years could not be repaired.

13
                                                         37.
             Mr. Branch required surgery and incurred $59,381.91 in medical bills after being shot.
14
                                                         38.
15
             Mr. Branch has incurred charges of over $600,000.00 for this internment at the Oregon
16
     State Hospital. The exact amount of what Mr. Branch may owe to the State of Oregon is to be
17
     determined at trial.
18                                                       39.
19           Mr. Branch lost his disability benefits as a result of his criminal conviction. The amount
20   of loss is to be determined at the time of trial.

21
                                        FIRST CLAIM FOR RELIEF
22

23                                                (Negligence)

24                                                       40.

25           Defendant, through the acts and omissions of its agents, was negligent in one or more of
26
     the following ways that caused Mr. Branch’s damages:

     PAGE 7 –COMPLAINT                                                             Wm. Keith Dozier, LLC
                                                                                    385 First St., Ste. 215
                                                                                  Lake Oswego, OR 97034
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           Case 3:17-cv-00202-AC          Document 1         Filed 02/07/17   Page 8 of 10




 1        a. In prescribing Mr. Branch benzodiazepine for the treatment of Posttraumatic Stress
 2
             Syndrome;
 3
          b. In failing to properly monitor Mr. Branch’s mental condition prior to his back surgery
 4
             in 2011;
 5
          c. In failing to taper Mr. Branch off of the use of benzodiazepine prior to his back
 6

 7
             surgery in 2011;

 8        d. In failing to warn Mr. Branch that if he underwent the back surgery of 2011 he would

 9           have to discontinue the use of benzodiazepine to take other drugs prescribed for

10           recovery from surgery;
11
          e. In failing to provide Mr. Branch with appropriate and required counseling and
12
             therapy to treat his psychological condition;
13
          f. In failing to recommend or require that Mr. Branch be treated on an in-patient basis
14
             after his psychotic episodes suffered in the months prior to his back surgery;
15

16
          g. In failing to refer Mr. Branch to an in-patient psychiatric facility when he suffered his

17           psychotic episodes in the months prior to his back surgery;

18        h. In failing to coordinate Mr. Branch’s prescriptions between his treatment for back
19           pain and his psychological condition;
20
          i. In failing to adequately warning Mr. Branch of the dangers of discontinuing or
21
             abruptly reducing his intake of benzodiazepine;
22
          j. In failing to properly taper Mr. Branch off of the benzodiazepines;
23
          k. In failing to ensure that the proper use of his medications was clearly explained to Mr.
24

25           Branch after his back surgery;

26



     PAGE 8 –COMPLAINT                                                           Wm. Keith Dozier, LLC
                                                                                  385 First St., Ste. 215
                                                                                Lake Oswego, OR 97034
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              Case 3:17-cv-00202-AC          Document 1       Filed 02/07/17     Page 9 of 10




 1          l. In failing to follow up with Mr. Branch after his back surgery to determine if he had
 2
                understood how he was to take his medications; and
 3
            m. In failing to promptly follow up with Mr. Branch after his back surgery to evaluate
 4
                his mental condition.
 5
                                                     41.
 6

 7
            As a result of defendant’s negligence, Mr. Branch suffered injuries to the muscles,

 8   tendons, soft tissues, and internal organs, the consequences of them, are or may be permanent

 9   and have caused him to suffer non-economic damages, including but not limited to, past and

10   future pain and suffering as well as past future inconvenience and interference with normal and
11
     usual activities, his time spent interned at the Oregon State Hospital, the fear associated with
12
     being imprisoned with violent criminals, all to his non-economic damages in a reasonable
13
     amount to be determined at trial.
14
                                     SECOND CLAIM FOR RELIEF
15

16
                                           (Loss of Consortium)

17                                                   42.

18          As a result of defendants’ negligence, Mrs. Branch suffered the loss of her normal
19   companionship, support, and society of her husband all to her economic damage in an amount to
20
     be determined at trial.
21
                                      THIRD CLAIM FOR RELIEF
22
                               (Negligent Infliction of Emotional Distress)
23
                                                     43.
24

25          As a result of defendant’s negligence, Mrs. Branch suffered the mental distress of her

26   husband’s delusional state that created a fear for her safety and she suffered the horror of


     PAGE 9 –COMPLAINT                                                              Wm. Keith Dozier, LLC
                                                                                     385 First St., Ste. 215
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             Case 3:17-cv-00202-AC        Document 1     Filed 02/07/17    Page 10 of 10




 1   watching the police use deadly force on her husband all to her non-economic damages in an
 2
     amount to be determined at trial.
 3

 4
     WHEREFORE, Plaintiffs pray for judgment as alleged in each claim stated above.
 5

 6

 7
        DATED this 7th day of February 2017.

 8                                                     Wm. Keith Dozier, LLC

 9                                                     and

10                                                     Mark R. Bocci
11
                                                       /s/ Wm. Keith Dozier, Jr.
12                                                     Wm. Keith Dozier, Jr., OSB #012478
                                                       Attorney for Plaintiff John Branch
13

14   Wm. Keith Dozier, OSB 012478
     keith@wkd-law.com
15
     Wm. Keith Dozier, LLC
16
     385 First St., Ste. 215
     Lake Oswego, OR 97034
17   Phone: 503-594-0333
     Fax: 503-697-0841
18
            Attorney for Plaintiff John Branch
19
     Mark R. Bocci, OSB 760647
20
     markrbocci@me.com
21   385 First St., Ste. 215
     Lake Oswego, OR 97034
22   Phone: 503-607-0222
     Fax: 503-697-0841
23
            Attorney for Plaintiff Rea Branch
24

25

26



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                                                                                385 First St., Ste. 215
                                                                              Lake Oswego, OR 97034
                                                                        P: (503) 594-0333 F: (503) 697-0841
